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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                         FT. LAUDERDALE DIVISION

                               Case No. 0:24-CR-60126

                                               )
   UNITED STATES OF AMERICA,                   )
                                               )
   Plaintiff,                                  )
                                               )
   v.                                          )
                                               )
   JANICE ELEANOR TURNER                       )
                                               )
   Defendant.                                  )
                                               )


                 DEFENDANT JANICE ELEANOR TURNER’S
                     SENTENCING MEMORANDUM

         COMES NOW, by and through undersigned counsel, on behalf of the

  Defendant, JANICE ELEANOR TURNER, and respectfully submits this her

  Sentencing Memorandum, and in support states as follows:

                                 INTRODUCTION

         Janice Eleanor Turner (“Ms. Turner”), comes before this Honorable Court

  for her sentencing on July 23, 2025. On March 28, 2025, Ms. Turner was found

  guilty by a jury of Counts one, three, four, five and six of a six-count Superseding

  Indictment. Count one charged Ms. Turner with Conspiracy to Commit Wire

  Fraud in violation of 18 U.S.C. § 1349, and Counts three, four, five, and six

  charged Ms. Turner with Wire Fraud in violation of 18 U.S.C. § 1343. Ms. Turner
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  exercised her right to testify. She admitted to all of the fraudulent documents and

  testified truthfully at her trial.

  I.     SENTENCING POSITION

         At sentencing in the above-styled case, the issue before this Honorable Court

  is whether the Ms. Turner should receive a federal prison sentence within the

  advisory federal sentencing guidelines. Ms. Turner respectfully submits that a

  sentence on the low end of the guideline range is greater than necessary to punish a

  sixty-two year old women, with a myriad of health issues, and minimal criminal

  history. See Def. Mot. for Downward Departure, Dkt. No. 133 (Sealed).

  II.    PRESENTENCE INVESTIGATION REPORT

         Undersigned has filed objections to the factual and legal accuracy of the

  Presentence Investigation Report, and those objections remain pending before this

  Honorable Court. None of the items that are the subject of the wire fraud were for

  her, or her personal gain. While the intended loss under the guidelines is high, the

  actual loss was none or minimal. See Obj. to Presentence Investigation Rep., Dkt.

  No. 126, and Resp. in Opp’n to Gov’t Obj. to Presentence Investigation Rep., Dkt.

  No. 136.

  III.   SENTENCING ANALYSIS

         To arrive at a sentence that is sufficient but not greater than necessary, to

  comply with the purpose set forth in paragraph two of 18 U.S.C. § 3553(a), Ms.



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  Turner understands this Honorable Court will first calculate the Defendant’s

  guideline sentence, and next consider any departures based on the criteria set forth

  in the federal sentencing guidelines, and finally consider whether the sentence

  imposed should be different from either the federal sentencing guideline sentence

  or the departure sentence, if any, after considering the factors set forth in 18 U.S.C.

  § 3553(a).     Undersigned counsel is fully aware that this Honorable Court

  understands the law regarding the discretion it has at federal sentencing based upon

  the advisory nature of the federal sentencing guidelines and the mandatory aspect

  of subsection (b)(1) being held unconstitutional by United States v. Booker, 543

  US. 220, (2005). This allows the Court to use its discretion to deviate from the

  guidelines if there exists an aggravating or mitigating circumstance of a kind, or to

  a degree, not adequately taken into consideration by the Sentencing Commission in

  formulating the guidelines.

        To determine a reasonable sentence the District Court must consider several

  factors in addition to the Advisory Federal Sentencing Guidelines enumerated in

  Title 18, United States Code, and Section 3553. These factors are as follows:

        (1) the nature and circumstances of the offense and the history and the

        characteristics of the defendant;

        (2) the need for the sentence imposed –




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              (A) to reflect the seriousness of the offense, to promote respect for the

              law and to provide just punishment for the offense;

              (B) to afford adequate deterrence to criminal conduct;

              (C) to protect the public from further crimes of the defendant; and

              (D) to provide the defendant with needed educational or vocational

              training, medical care or other correctional treatment in the most

              effective manner;

        (3) the kinds of sentences available;

        (4) the kinds of sentence and the sentencing range established for the

        applicable category of offense committed by the applicable category of the

        defendant as set forth in the Guidelines issued by the Sentencing

        Commission that are in effect on the date Defendant is sentenced;

        (5) any pertinent policy statements issued by the Sentencing Commission

        (6) the need to avoid unwarranted sentencing disparities among defendants

        with similar records who have been found guilty of similar conduct; and

        (7) the need to provide restitution to any victims of the offense.

        This Honorable Court in determining the particular sentence to be imposed,

  shall consider, among other things, the nature and circumstances of the offense and

  the history and characteristics of Ms. Turner, and lastly the need to avoid




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  unwarranted sentencing disparities amongst other defendants with similar records

  who have been found guilty of similar conduct.

         Highlighting several facts from the Presentence Investigation Report, the

  issue before this Honorable Court is whether an imprisonment sentence within the

  advisory federal sentencing guideline range for Counts One, Three, Four, Five, and

  Six, is sufficient but not greater than necessary to comply with the law1. An

  imprisonment sentence at the low end of the guideline range is wholly

  unnecessary, and Ms. Turner has respectfully requested a downward variance. See

  Def. Mot. for Downward Departure, Dkt. No. 133 (Sealed). A sentence of thirty

  months or less is a sufficient but not greater than necessary to comply with the law.

  Ms. Turner will go to prison; she has earned the prison sentence. However, a

  sentence greater than thirty months is a waste of taxpayer resources based upon the

  history and characteristics of Ms. Turner.

         Therefore, a downward variance in this case would provide an adequate

  deterrence for the offense in this instant matter.              She also understands the

  immigration issue and that she will be deported back to Jamaica, lose her green

  card, and be barred from returning to the United States of America without the




  1
    Undesigned counsel has filed an objection as to the U.S. Probation Office’s interpretation of
  §4A1.2(e)(1) and has set forth a legal argument reducing the offense level, criminal history
  category, and the guideline range. See Obj. to Presentence Investigation Rep. 4-5, Dkt. No. 126.


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  approval of the Attorney General. She will be separated from her family and the

  friends she has.

  IV. REQUESTS FOR JUDICIAL RECOMMENDATIONS

         Ms. Turner understands that judicial recommendations are just that – mere

  recommendations.         There is no guarantee that a judicial recommendation will

  result in action. However, relevant law and prison policy state more weight is

  given to judicial recommendation if there is a factual basis on the record for the

  judicial recommendation.2

         Ms. Turner respectfully requests a recommended designation of a federal

  prison as close as possible to Miami, Florida.                   As a factual basis for this

  recommendation, Ms. Turner’s family and friends all reside in the Miami, Florida

  area. The closest facility for women is in Tallahassee which is more than 450

  miles from Southern Florida. This will limit the ability of family visits. As

  evidenced in the character letters submitted before this Honorable Court, Ms.

  Turner is a pillar in her community, often referred to as “Mama Kingston”.


  2
    The Bureau of Prisons welcomes judicial recommendations and, by statute and its own policy,
  is required to consider them. See 18 U.S.C. § 3621 and Program Statement 5100.08, “Inmate
  Security Designation and Custody Classification”. Pursuant to the above statute, the Bureau of
  Prisons is required to consider the type of offense, the length of sentence, the defendant's age, the
  defendant's release residence, the need for medical or other special treatment, any placement
  recommendation made by the court, and all guidance issued by the United States Sentencing
  Guidelines. Therefore, while the Bureau of Prisons has the sole authority to designate the place
  of confinement for federal prisoners, if a defendant’s judgment and conviction indicates the
  district court’s preference for housing the inmate within a specific institution, geographic area, or
  specialized program, it must be considered and every effort will be made to fulfill the district
  court’s recommendation request should there be reasons on the record to support the request.

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        In many of the character letters filed on Ms. Turner’s behalf, she is often

  described as a motherly figure whose home was a refuge. Ms. Turner fed the

  hungry, clothed the less fortunate, and encouraged those who had lost their hope.

  Her generosity and love for others did not have a limit, and she exemplifies a life

  lived of service to the public. There are so many of examples of helping others

  provided by others in the character letters: she went to Skid Row in California to

  feed the homeless Christmas Day, provided support for a young pregnant woman,

  organized toy drives, donated to multiple charities, organized church events, the

  list of the acts of service provided by Ms. Turner is endless. See Not. of Filing

  Character Letters in Supp. of Sent’g, Dkt. No. 138-1.       The love and support

  resulting from Ms. Turner’s family and friends being able to visit her while in

  custody will allow her a greater chance of positive matriculation through the prison

  system.




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                                   CONCLUSION

        WHEREFORE, the Defendant, JANICE ELEANOR TURNER, by and

  through her undersigned counsel prays this Honorable Court will grant the

  requested relief and/or any other relief deemed necessary.

                                               Respectfully submitted,

                                               HUMBERTO R. DOMINGUEZ, P.A.

                                               By: /s/ Humberto R. Dominguez
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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY on July 18, 2025, I electronically filed the foregoing

  with the Clerk of the Court by using the CM/ECF system which will then send

  notice of electronic filing to all counsel of record.

                                                 Respectfully submitted,

                                                  HUMBERTO R. DOMINGUEZ, P.A.

                                                  By: /s/ Humberto R. Dominguez
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